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                                                       UNITED STATES DISTRICT COURT
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                                                 NORTHERN DISTRICT OF CALIFORNIA
                   13
                                                          SAN FRANCISCO DIVISION
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                   15   STATE OF CALIFORNIA and GAVIN                   Case No. 3:25-cv-03372-JSC
                        NEWSOME, in his official capacity as
                   16   Governor of California,                         [PROPOSED] ORDER RE
                                                                        ADMINISTRATIVE MOTION
                   17                    Plaintiffs,                    SEEKING TO FILE AN AMICUS
                                                                        CURIAE BRIEF IN SUPPORT OF
                   18         v.                                        PLAINTIFFS’ MOTION FOR
                                                                        PRELIMINARY INJUNCTION
                   19   DONALD J. TRUMP, in his official capacity
                        as President of the United States, et al.,      Date: June 26, 2025
                   20                                                   Time: 10:00 a.m.
                                         Defendants.                    Ctrm: Courtroom 8, 19th Floor
                   21                                                   Judge: Hon. Jacqueline Scott Corley

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  CROWELL
& MORING LLP                                                                       [PROPOSED] ORDER RE ADMIN. MOT. FOR
ATTORNEYS AT LAW                                                                     LEAVE TO FILE AMICUS BRIEF ISO PL’S
                                                                                      MOT FOR PRELIMINARY INJUNCTION;
                                                                                               CASE NO. 3:25-CV-03372-JSC
                        Case 3:25-cv-03372-JSC          Document 25-2          Filed 05/19/25    Page 2 of 2



                    1          The unopposed motion of George F. Allen, Steven G. Calabresi, Joshua A. Claybourn,

                    2   John C. Danforth, Richard A. Epstein, Charles T. Hagel, Harold Hongju Koh, Gerard N.

                    3   Magliocca, Michael W. McConnell, Michael B. Mukasey, Alan O. Sykes, Judge John Daniel

                    4   Tinder, Peter J. Wallison, and Philip Zelikow seeking leave to file a brief as amici curiae in

                    5   support of plaintiffs’ motion for preliminary injunction is hereby GRANTED. Amici are ordered

                    6   to file their Amicus Curiae Brief.

                    7          IT IS SO ORDERED.

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                         Dated: __________________
                    9                                                      The Honorable Jacqueline Scott Corley
                                                                           United States District Judge
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                                                                                           [PROPOSED] ORDER RE ADMIN. MOT. FOR
  CROWELL                                                                                    LEAVE TO FILE AMICUS BRIEF ISO PL’S
& MORING LLP                                                             -1-                  MOT FOR PRELIMINARY INJUNCTION;
ATTORNEYS AT LAW
                                                                                                       CASE NO. 3:25-CV-03372-JSC
